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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

LINDA SUE SEXTON and
MICHAEL SEXTON,
                                            Case No. 19-12574
             Plaintiffs,                    HON. MARK A. GOLDSMITH
v.                                          MAG. JUDGE ANTHONY P. PATTI

LARRY LYNN DUNN,
THOMAS CERNUTO, 63
REDFORD CHARTER TOWNSHIP,
a municipal corporation;
jointly and severally,

     Defendants.
__________________________________________________________________/

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                               tlf@kellerthoma.com
                               kej@kellerthoma.com
_________________________________________________________________/


              DEFENDANT REDFORD CHARTER TOWNSHIP’S
                      ANSWER TO COMPLAINT


      NOW COMES Defendant, Redford Charter Township, by and through its

attorneys, Cummings, McClorey, Davis & Acho, P.L.C., and for its Answers

Plaintiffs’ Complaint states as follows:

      1.      Answering Paragraph 1, the Defendant denies the allegations contained

therein as untrue.

                                 JURISDICTION

      2.      Answering Paragraph 2, the Defendant admits the allegations contained

therein.

      3.      Answering Paragraph 3, the Defendant admits the allegations contained

in therein.

      4.      Answering Paragraph 4, the Defendant admits the allegations contained

in therein.



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                                           VENUE

      5.    Answering Paragraph 5, Defendant admits the allegations contained

therein upon information and belief.

      6.    Answering Paragraph 6, Defendant admits the allegations contained

therein upon information and belief.

      7.    Answering Paragraph 7, the Defendant admits the allegations contained

therein.

      8.    Answering Paragraph 8, the Defendant admits the allegations contained

therein.

      9.    Answering Paragraph 9, the Defendant admits the allegations contained

therein.

                          COMMON ALLEGATIONS

      10.   Answering Paragraph 10, the Defendant admits the allegations

contained therein.

      11.   Answering Paragraph 11, the Defendant admits the allegations

contained therein.

      12.   Answering Paragraph 12, the Defendant admits the allegations

contained therein.

      13.   Answering Paragraph 13, the Defendant admits the allegations

contained therein.


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      14.    Answering Paragraph 14, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant.

      15.    Answering Paragraph 15, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant.

      16.    Answering Paragraph 16, the Defendant admits the allegations

contained therein.

C. Day one, Saturday July 29, 2017

      17.    Answering Paragraph 17, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      18.    Answering Paragraph 18, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      19.    Answering Paragraph 19, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      20.    Answering Paragraph 20, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.




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      21.   Answering Paragraph 21, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      22.   Answering Paragraph 22, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      23.   Answering Paragraph 23, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      24.   Answering Paragraph 24, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      25.   Answering Paragraph 25, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      26.   Answering Paragraph 26, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.




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      27.    Answering Paragraph 27, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      28.    Answering Paragraph 28, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      29.    Answering Paragraph 29, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      30.    Answering Paragraph 30, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      31.    Answering Paragraph 31, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      32.    Answering Paragraph 32, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      33.    Answering Paragraph 33, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.




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      34.    Answering Paragraph 34, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      35.    Answering Paragraph 35, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      36.    Answering Paragraph 36, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      37.    Answering Paragraph 37, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      38.    Answering Paragraph 38, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      39.    Answering Paragraph 39, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      40.    Answering Paragraph 40, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.




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      41.    Answering Paragraph 41, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      42.    Answering Paragraph 42, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      43.    Answering Paragraph 43, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      44.    Answering Paragraph 44, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      45.    Answering Paragraph 45, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      46.    Answering Paragraph 46, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      47.    Answering Paragraph 47, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      48.    Answering Paragraph 48, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.


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      49.    Answering Paragraph 49, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      50.    Answering Paragraph 50, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      51.    Answering Paragraph 51, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      52.    Answering Paragraph 52, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      53.    Answering Paragraph 53, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      54.    Answering Paragraph 54, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      55.    Answering Paragraph 55, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.




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      56.    Answering Paragraph 56, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      57.    Answering Paragraph 57, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      58.    Answering Paragraph 58, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      59.    Answering Paragraph 59, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      60.    Answering Paragraph 60, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      61.    Answering Paragraph 61, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      62.    Answering Paragraph 62, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.


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      63.    Answering Paragraph 63, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      64.    Answering Paragraph 64, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      65.    Answering Paragraph 65, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      66.    Answering Paragraph 66, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      67.    Answering Paragraph 67, Defendant neither admits nor denies the

allegations contained therein as they do not pertain to this Defendant and this

Defendant lacks the knowledge to form a belief.

      68.    Answering Paragraph 68, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      69.    Answering Paragraph 69, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.

      70.    Answering Paragraph 70, Defendant neither admits nor denies the

allegations contained therein as for lack of knowledge to form a belief.




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       71.    Answering Paragraph 71, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

 D. Day Two, Sunday July 30, 2017

       72.    Answering Paragraph 72, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       73.    Answering Paragraph 73, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       74.    Answering Paragraph 74, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       75.    Answering Paragraph 75, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       76.    Answering Paragraph 76, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       77.    Answering Paragraph 77, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.




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       78.    Answering Paragraph 78, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       79.    Answering Paragraph 79, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       80.    Answering Paragraph 80, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       81.    Answering Paragraph 81, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       82.    Answering Paragraph 82, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       83.    Answering Paragraph 83, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       84.    Answering Paragraph 84, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.




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       85.    Answering Paragraph 85, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       86.    Answering Paragraph 86, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       87.    Answering Paragraph 87, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       88.    Answering Paragraph 88, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       89.    Answering Paragraph 89, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       90.    Answering Paragraph 90, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       91.    Answering Paragraph 91, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       92.    Answering Paragraph 92, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.




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       93.    Answering Paragraph 93, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       94.    Answering Paragraph 94, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       95.    Answering Paragraph 95, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       96.    Answering Paragraph 96, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       97.    Answering Paragraph 97, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       98.    Answering Paragraph 98, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       99.    Answering Paragraph 99, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.


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       100. Answering Paragraph 100, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       101. Answering Paragraph 101, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       102. Answering Paragraph 102, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       103. Answering Paragraph 103, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

 E. Reporting to the Police and Police Investigation Prosecution

       104. Answering Paragraph 104, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       105. Answering Paragraph 105, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       106. Answering Paragraph 106, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.




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       107. Answering Paragraph 107, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       108. Answering Paragraph 108, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       109. Answering Paragraph 109, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       110. Answering Paragraph 110, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       111. Answering Paragraph 111, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

 TRUTHFUL. (See Attached Exhibit A.)

       112. Answering Paragraph 112, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       113. Answering Paragraph 113, Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.


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       114. Answering Paragraph 114, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

                                LEGAL CLAIMS

                              COUNT I:
                    FOURTH AMENDMENT VIOLATION
                            Defendant Dunn

       115. The Defendant incorporates Paragraphs 1 through 114.

       116. Answering Paragraph 116, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       117. Answering Paragraph 117, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       118. Answering Paragraph 118, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       119. Answering Paragraph 119, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.




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       120. Answering Paragraph 120, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       WHEREFORE, the Defendant, Redford Charter Township, prays for

 judgment of no cause for action together with Court costs and attorney fees so

 unjustly sustained.

                                    COUNT II

          VIOLATION OF THE FOURTEENTH AMENDMENT
      RIGHT TO PERSONAL SECURITY AND BODILY INTEGRITY
                        Defendant Dunn

       121. The Defendant incorporates Paragraphs 1 through 120.

       122. Answering Paragraph 122, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       123. Answering Paragraph 123, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       124. Answering Paragraph 124, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.




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       125. Answering Paragraph 125, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       126. Answering Paragraph 126, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       127. Answering Paragraph 127, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       128. Answering Paragraph 128, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

                                   COUNT II:

                           FAILURE TO PROTECT
                             Defendant Cernuto

       129. The Defendant incorporates Paragraphs 1 through 128.

       130. Answering Paragraph 130, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.




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       131. Answering Paragraph 131, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       132. Answering Paragraph 132, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       133. Answering Paragraph 133, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       WHEREFORE, the Defendant, Redford Charter Township, prays for

 judgment of no cause for action together with Court costs and attorney fees so

 unjustly sustained.

                                   COUNT IV:

               BYSTANDER LIABILITY JOINT TORTFEASER
                      Defendant Dunn and Cernuto

       134. The Defendant incorporates Paragraphs 1 through 133.

       135. Answering Paragraph 135, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.




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       136. Answering Paragraph 136, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       137. Answering Paragraph 137, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       138. Answering Paragraph 138, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       139. Answering Paragraph 139, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       WHEREFORE, the Defendant, Redford Charter Township, prays for

 judgment of no cause for action together with Court costs and attorney fees so

 unjustly sustained.

                                   COUNT V:

                             CIVIL CONSPIRACY

       140. The Defendant incorporates Paragraphs 1 through 139.




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       141. Answering Paragraph 141, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       142. Answering Paragraph 142, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       143. Answering Paragraph 143, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       WHEREFORE, the Defendant, Redford Charter Township, prays for

 judgment of no cause for action together with Court costs and attorney fees so

 unjustly sustained.

                                         COUNT VI:

                            ELLIOT LARSON CIVIL RIGHTS
                             PUBLIC ACCOMMODATIONS
                                    All Defendants

       144. The Defendant incorporates Paragraphs 1 through 143.

       145. Answering Paragraph 145, Defendant neither admits nor denies the

 allegations contained therein as the statute speaks for itself.

       146. Answering Paragraph 146, Defendant neither admits nor denies the

 allegations contained therein as the statute speaks for itself.


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       147. Answering Paragraph 147, Defendant neither admits nor denies the

 allegations as same call for a legal conclusion and Plaintiff is left to its proofs.

       148. Answering Paragraph 148, the Defendant denies the allegations

 contained therein as untrue.

       149. Answering Paragraph 149, Defendant neither admits nor denies the

 allegations contained therein as they do not pertain to this Defendant and this

 Defendant lacks the knowledge to form a belief.

       150. Answering Paragraph 150, the Defendant denies the allegations

 contained therein as untrue.

       151. Answering Paragraph 151, the Defendant denies the allegations

 contained therein as untrue.

       152. Answering Paragraph 152, the Defendant denies the allegations

 contained therein as untrue.

       153. Answering Paragraph 153, the Defendant denies the allegations

 contained therein as untrue.

       154. Answering Paragraph 154, the Defendant denies the allegations

 contained therein as untrue.

       WHEREFORE, the Defendant, Redford Charter Township, prays for

 judgment of no cause for action together with Court costs and attorney fees so

 unjustly sustained.


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                                     COUNT VII:

                       ELLIOT LARSON CIVIL RIGHTS
                       HOSTILE WORK ENVIRONMENT
                               All Defendants

       155. The Defendant incorporates Paragraphs 1 through 154.

       156. Answering Paragraph 156, the Defendant denies the allegations

 contained therein as untrue.

       157. Answering Paragraph 157, the Defendant admits the allegations

 contained therein.

       158. Answering Paragraph 158, the Defendant admits the allegations

 contained therein.

       159. Answering Paragraph 159, the Defendant denies that Defendants were

 acting in the scope of their employment and, therefore, were not agents at the time

 of this incident.

       160. Answering Paragraph 160, the Defendant denies the allegations

 contained therein as untrue.

       161. Answering Paragraph 161, Defendant neither admits nor denies the

 allegations contained therein as same calls for a legal conclusion.

       162. Answering Paragraph 162, the Defendant denies the allegations

 contained therein as untrue.




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       163. Answering Paragraph 163, the Defendant denies the allegations

 contained therein as untrue.

       WHEREFORE, the Defendant, Redford Charter Township, prays for

 judgment of no cause for action together with Court costs and attorney fees so

 unjustly sustained.

                                    COUNT VIII:

                       ELLIOT LARSON CIVIL RIGHTS
                         DISPARATE TREATMENT’
                               All Defendants

       164. The Defendant incorporates Paragraphs 1 through 163.

       165. Answering Paragraph 165, the Defendant denies the allegations

 contained therein as untrue.

       166. Answering Paragraph 166, the Defendant admits the allegations

 contained therein.

       167. Answering Paragraph 167, the Defendant admits the allegations

 contained therein.

       168. Answering Paragraph 168, Defendant neither admits nor denies the

 allegations contained therein as same calls for a legal conclusion.

       169. Answering Paragraph 169, the Defendant denies the allegations

 contained therein as untrue.




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       170. Answering Paragraph 170, the Defendant denies the allegations

 contained therein as untrue.

       171. Answering Paragraph 171, the Defendant denies the allegations

 contained therein as untrue.

       172. Answering Paragraph 172, the Defendant denies the allegations

 contained therein as untrue.

       WHEREFORE, the Defendant, Redford Charter Township, prays for

 judgment of no cause for action together with Court costs and attorney fees so

 unjustly sustained.

                                     COUNT IX:

                               MONELL CLAIM
                       Defendant Redford Charter Township

       173. The Defendant incorporates Paragraphs 1 through 172.

       174. Answering Paragraph 174, Defendant neither admits nor denies the

 allegations contained therein as same calls for a legal conclusion.

       175. Answering Paragraph 175, the Defendant denies the allegations

 contained therein as untrue.

       176. Answering Paragraph 176, the Defendant denies the allegations

 contained therein as untrue.

       177. Answering Paragraph 177, the Defendant denies the allegations

 contained therein as untrue.
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       178. Answering Paragraph 178, the Defendant denies the allegations

 contained therein as untrue.

       179. Answering Paragraph 179, the Defendant denies the allegations

 contained therein as untrue.

       180. Answering Paragraph 180, the Defendant denies the allegations

 contained therein as untrue.

       WHEREFORE, the Defendant, Redford Charter Township, prays for

 judgment of no cause for action together with Court costs and attorney fees so

 unjustly sustained.

                                     COUNT X:

                            LOSS OF CONSORTIUM

       181. The Defendant incorporates Paragraphs 1 through 180.

       182. Answering Paragraph 182 Defendant neither admits nor denies the

 allegations contained therein as for lack of knowledge to form a belief.

       183. Answering Paragraph 183, the Defendant denies the allegations

 contained therein as untrue.




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                              Respectfully Submitted,

                              CUMMINGS, McCLOREY, DAVIS & ACHO, P.L.C.

                                   By:      /s/ Suzanne P. Bartos
                                          SUZANNE P. BARTOS (P 36490)
                                          17436 College Parkway
                                          Livonia, MI 48152
                                          (734) 261-2400
                                          Attorneys for Defendant Redford Township
                                          sbartos@cmda-law.com
 Dated: September 13, 2019




                           AFFIRMATIVE DEFENSES

       1.      Plaintiff’s complaint is barred, in whole or in part, by the applicable

 statute of limitations.

       2.     Plaintiff has failed to establish that the Township acted with deliberate

 indifference to her needs, thus barring her complaint, in whole or in part.

       3.     Defendant was not provided an opportunity to take remedial action to

 stop any harassing or discriminating conduct which bars Plaintiff’s Complaint.

       4      All conduct between the parties was consensual thereby barring

 Plaintiff’s Complaint.

       5.     Plaintiff was not an employee of the Township thus barring her

 Complaint, in whole or in part.



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       6.     Plaintiff was not denied enjoyment of a public space under the ELCRA

 as she was allowed use of any areas that were in fact open to the public.

       7.     Plaintiff was not denied enjoyment of a public space under the ELCRA

 as the area where the alleged misconduct took place was not open to the public.

       8.     Defendant did not have notice of any propensity on behalf of the Co-

 Defendants to violate the rights of persons in their supervision for any liability to

 attach.

       9.     Plaintiff’s complaint fails to state a cause of action or claim for which

 relief can be granted.

       10.    To the extent that Plaintiff seeks to impose liability based upon

 municipal or official capacity claims, Plaintiff has failed to allege any facts in

 support of, nor could she prove, a custom, policy, procedure or practice which

 resulted proximately in any constitutional violation claimed by Plaintiff and there is

 no vicarious liability which may be imposed pursuant to 42 USC 1983.

       11.    Plaintiff has failed to allege, nor can she prove, that the Township failed

 to properly train its employees.

       12.    That any injuries sustained by the Plaintiff were caused solely by the

 actions or inactions of named or unnamed parties.




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                              Respectfully Submitted,

                              CUMMINGS, McCLOREY, DAVIS & ACHO, P.L.C.

                                  By:      /s/ Suzanne P. Bartos
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                                         17436 College Parkway
                                         Livonia, MI 48152
                                         (734) 261-2400
                                         Attorneys for Defendant Redford Township
                                         sbartos@cmda-law.com
 Dated: September 13, 2019




                          CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 13, 2019, she caused the
 foregoing document to be filed with the Court’s electronic court filing system, which
 system will serve all parties of record.


                                         /s/          Deborah L. Van Steenis
                                                      Deborah L. Van Steenis




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